  Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 1 of 21 PageID #: 1




                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK



 Carlos Ruiz Florez,

        Plaintiff,
 vs.                                                              COMPLAINT

 524 Metropolitan LLC and
 London Tandoori Masala Inc.,

        Defendants.



       Plaintiff, CARLOS RUIZ FLOREZ (“Plaintiff”), by his undersigned counsel, hereby

files this Complaint and sues Defendants, 524 METROPOLITAN LLC and LONDON

TANDOORI MASALA INC. (“Defendants”), for injunctive relief pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter, the “ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (hereinafter, the “ADAAG”).

                                       JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C.,

§§1331 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon

Defendant’s violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

       2.      Plaintiff currently resides in Queens County, New York, and is sui juris. Plaintiff

is a qualified individual with disabilities under the ADA. Plaintiff suffered a spinal cord injury

as a child complete from the T-7 to T-11, has paraplegia, and is bound to ambulate in a

wheelchair.

       3.      Defendant, 524 METROPOLITAN LLC, is a limited liability company and

transacts business in the State of New York and within this judicial district. Defendant, 524

                                                1
  Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 2 of 21 PageID #: 2




METROPOLITAN LLC, is the owner of the real property which is the subject of this action

located at 524 Metropolitan Avenue 22, Brooklyn, NY 11211 (hereinafter, the “Subject

Property” or “Facility”).

       4.      Defendant, LONDON TANDOORI MASALA INC., is a domestic business

corporation and transacts business in the State of New York and within this judicial district.

Defendant, LONDON TANDOORI MASALA INC., is the lessee and operator of the restaurant

known as LONDON TANDOORI, located at 524 Metropolitan Avenue 22, Brooklyn, NY

11211 (hereinafter, the “Facility”).

       5.      Plaintiff has visited the Subject Property which forms the basis of this lawsuit on

or about the latter part of January 2024, and again on or about August 29, 2024. On both of

these occasions, the Plaintiff’s ability to ambulate through the entrance of the Subject Property

was constrained, hindered, and thwarted by the structural barriers, to wit; an interior

architectural barrier step that significantly drops the floor levels at the entrance door, that which

prevented access to the public accommodation and caused plaintiff to turn back for his safety.

       6.      The Plaintiff plans to return to the Subject Property to avail himself of the goods

and services offered to the public at the Subject Property, and thereby determine whether the

Subject Property has been made ADA compliant. Plaintiff’s access to the Facility and/or full

and equal enjoyment of the goods, services, facilities, privileges, advantages, and/or

accommodations offered therein was denied and/or limited because of these disabilities, and

Plaintiff will be denied and/or limited in the future unless and until Defendants are compelled to

remove the physical barriers to access and ADA violations which exist at the Facility, including

but not limited, to those set forth in this Complaint.




                                                  2
  Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 3 of 21 PageID #: 3




       7.      Plaintiff lives only several miles from the Defendants’ Facility, passes by the

Defendants’ Facility at least once per week when he is doing errands, visiting family and friends

throughout the borough, and looking to eat out. Moreover, the Defendants’ Facility is in a

neighborhood that Plaintiff dines out two to three times per month. Foremost, Plaintiff has dined

at, and in, nearly all of the neighboring restaurants surrounding the subject facility, that are all

without obstructions about twice per month, including but not limited to the Dunkin’ Donuts,

BagelSmith, Wines & Liquors, Saracio’s Bakery, and William Deli & Grill amongst many

others; and thereon affirms that he would dine at the Defendant’s restaurant and avail himself of

the goods and services offered to the public, were it not for the structural barriers inhibiting his

ability to enter the subject facility, in direct contravention of Title III of the ADA and provisions

under the ADAAG.

       8.      The Defendants’ Facility is a public accommodation and service establishment,

and although required by law to do so, it is not in compliance with the ADA and ADAAG.

Plaintiff has visited the Subject Property which forms the basis of this lawsuit and plans to

return to the Subject Property to avail himself of the goods and services offered to the public at

the Subject Property, and to determine whether the Subject Property has been made ADA

compliant. Plaintiff’s access to the Facility and/or full and equal enjoyment of the goods,

services, facilities, privileges, advantages, and/or accommodations offered therein was denied

and/or limited because of these disabilities, and Plaintiff will be denied and/or limited in the

future unless and until Defendants are compelled to remove the physical barriers to access and

ADA violations which exist at the Facility, including but not limited, to those set forth in this

Complaint.




                                                  3
  Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 4 of 21 PageID #: 4




       9.         Plaintiff has suffered and continues to suffer direct and indirect injury as a result

of the ADA violations that exist at the Facility. In this instance, Plaintiff visited the Facility and

encountered barriers to access at the Facility, engaged barriers, suffered legal harm and injury,

and will continue to suffer legal harm and injury as a result of the illegal barriers to access as set

forth herein.

       10.        Plaintiff visited the Facility and encountered barriers to access at the Facility no

less than two times, specifically on or about the third or fourth week of January 2024, and again

on or about August 29, 2024, engaged the barrier when opening the entrance door, wherein

Plaintiff encountered an architectural barrier step, that the wheelchair could not traverse, thus

causing plaintiff to turn back and suffer legal harm and injury thereafter. There was no apparent

mechanism for assistance, or other means for traversing said architectural barriers. Plaintiff will

continue to suffer legal harm and injury as a result of the illegal barriers to access as set forth in

greater detail herein. The Plaintiff will continue to dine out in the neighborhood of the

Defendants’ subject property; specifically plans to visit this subject property this autumn and

winter with family and friends for nights out, and holidays and events; and will thereon continue

to attempt to access the services and facilities at said premises which have been deprived at all

times material.

       11.        All events giving rise to this lawsuit occurred in the State of New York. Venue is

proper in this Court as the premises are located in the Eastern District.

                            FACTUAL ALLEGATIONS AND CLAIM

       12.        Plaintiff has attempted to access the Facility, but could not do so without severe

hardship, because of his disabilities, and the physical barriers to access and ADA violations that




                                                    4
  Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 5 of 21 PageID #: 5




exist at the Facility, which restrict and/or limit his access to the goods and services offered at the

Facility. The ADA violations are more specifically set forth in this Complaint.

       13.     The New York State Human Rights Law provides: (a) “It shall be an unlawful

discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place of public accommodation…. because of the …

disability … of any person, directly or indirectly, to refuse, withhold from or deny to such

person any of the accommodations, advantages, facilities or privileges thereof … to the effect

that any of the accommodations, advantages, facilities and privileges of any such place shall be

refused, withheld from or denied to any person on account of … disability … NYS Exec. Law §

296 (2)(a).”

       14.     Plaintiff travels through this neighborhood regularly, has partaken of the services

offered in nearly all the surrounding public accommodations, and thereon intends to visit the

Facility again in the near future in order to utilize all of the goods and services offered therein

but will be unable to do so because of the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility that restrict and/or limit his access to the Facility,

including those barriers conditions and ADA violations more specifically set forth in this

Complaint.

       15.     Defendants have discriminated against Plaintiff and others with disabilities by

denying access to, and full and equal enjoyment of the goods and services of the Facility, as

prohibited by 42 U.S.C., § 12182, et. seq., and by failing to remove architectural barriers as

required by 42 U.S.C., § 12182(b)(2)(A)(iv), and will continue to discriminate against Plaintiff

and others with disabilities unless and until Defendants are compelled to remove all physical




                                                  5
  Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 6 of 21 PageID #: 6




barriers that exist at the Facility, including those specifically set forth herein, and make the

Facility accessible to and usable by persons with disabilities, including Plaintiff.

       16.     Defendants have discriminated against Plaintiff by failing to comply with the

above requirements. A specific, although not exclusive, list of unlawful physical barriers,

dangerous conditions and ADA violations, which preclude and/or limit Plaintiff’s ability to

access the Facility and full and equal enjoyment of the goods, services offered at the Facility

include:

       1. Inaccessible entrance.

       2. Accessible route to establishment not provided as required.

       3. Accessible means of egress not provided as required.

       4. Existing step at interior side of entrance door acts as a barrier to accessibility.

       5. Required ramp not provided for step at interior side of entrance door.

               ADAAG 206 Accessible Routes
               ADAAG 206.1 General.
               Accessible routes shall be provided in accordance with 206 and shall comply with
               Chapter 4.
               ADAAG 206.2 Where Required.
               Accessible routes shall be provided where required by 206.2.
               ADAAG 206.2.1 Site Arrival Points.
               At least one accessible route shall be provided within the site from accessible
               parking spaces and accessible passenger loading zones; public streets and
               sidewalks; and public transportation stops to the accessible building or facility
               entrance they serve.
               ADAAG 206.4 Entrances.
               Entrances shall be provided in accordance with 206.4. Entrance doors, doorways,
               and gates shall comply with 404 and shall be on an accessible route complying
               with 402.
               ADAAG 207 Accessible Means of Egress
               ADAAG 207.1 General.
               Means of egress shall comply with section 1003.2.13 of the International Building
               Code (2000 edition and 2001 Supplement) or section 1007 of the International
               Building Code (2003 edition) (incorporated by reference, “Referenced Standards”
               in Chapter 1).
                                                  6
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 7 of 21 PageID #: 7




         ADAAG 402 Accessible Routes
         ADAAG 402.1 General.
         Accessible routes shall comply with 402.
         ADAAG 402.2 Components.
         Accessible routes shall consist of one or more of the following components:
         walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
         curb ramps excluding the flared sides, elevators, and platform lifts.
         All components of an accessible route shall comply with the applicable
         requirements of Chapter 4.
         ADAAG 403 Walking Surfaces
         ADAAG 403.4 Changes in Level.
         Changes in level shall comply with 303
         ADAAG 303.4 Ramps.
         Changes in level greater than ½ inch high shall be ramped, and shall comply with
         405 or 406.

   6. Required minimum maneuvering clearance not provided at interior side of entrance
      door.

   7. Non-compliant change in floor level within required maneuvering clearance at
      interior side of entrance door.

         ADAAG 206 Accessible Routes
         ADAAG 206.1 General.
         Accessible routes shall be provided in accordance with 206 and shall comply with
         Chapter 4.
         ADAAG 206.2 Where Required.
         Accessible routes shall be provided where required by 206.2.
         ADAAG 206.2.1 Site Arrival Points.
         At least one accessible route shall be provided within the site from accessible
         parking spaces and accessible passenger loading zones; public streets and
         sidewalks; and public transportation stops to the accessible building or facility
         entrance they serve.
         ADAAG 206.4 Entrances.
         Entrances shall be provided in accordance with 206.4.
         Entrance doors, doorways, and gates shall comply with 404 and shall be on an
         accessible route complying with 402.
         ADAAG 206.4.1 Public Entrances.
         In addition to entrances required by 206.4.2 through 206.4.9, at least 60 percent of
         all public entrances shall comply with 404.
         ADAAG 207 Accessible Means of Egress
         ADAAG 207.1 General.


                                          7
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 8 of 21 PageID #: 8




          Means of egress shall comply with section 1003.2.13 of the International Building
          Code (2000 edition and 2001 Supplement) or section 1007 of the International
          Building Code (2003 edition) (incorporated by reference, “Referenced Standards”
          in Chapter 1).
          ADAAG 404.2.4 Maneuvering Clearances.
          Minimum maneuvering clearances at doors and gates shall comply with 404.2.4.
          Maneuvering clearances shall extend the full width of the doorway and the
          required latch side or hinge side clearance.
          ADAAG 404.2.4.4 Floor or Ground Surface.
          Floor or ground surface within required maneuvering clearances shall comply
          with 302.
          Changes in level are not permitted.

   8. Additional steps at interior side of entrance door act as a barrier.

   9. Required ramp not provided for additional steps at interior side of entrance door.

          ADAAG 206 Accessible Routes
          ADAAG 206.1 General.
          Accessible routes shall be provided in accordance with 206 and shall comply with
          Chapter 4.
          ADAAG 206.2 Where Required.
          Accessible routes shall be provided where required by 206.2.
          ADAAG 206.2.1 Site Arrival Points.
          At least one accessible route shall be provided within the site from accessible
          parking spaces and accessible passenger loading zones; public streets and
          sidewalks; and public transportation stops to the accessible building or facility
          entrance they serve.
          ADAAG 206.4 Entrances.
          Entrances shall be provided in accordance with 206.4.
          Entrance doors, doorways, and gates shall comply with 404 and shall be on an
          accessible route complying with 402.
          ADAAG 207 Accessible Means of Egress
          ADAAG 207.1 General.
          Means of egress shall comply with section 1003.2.13 of the International Building
          Code (2000 edition and 2001 Supplement) or section 1007 of the International
          Building Code (2003 edition) (incorporated by reference, “Referenced Standards”
          in Chapter 1).
          ADAAG 402 Accessible Routes
          ADAAG 402.1 General.
          Accessible routes shall comply with 402.
          ADAAG 402.2 Components.


                                             8
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 9 of 21 PageID #: 9




          Accessible routes shall consist of one or more of the following components:
          walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
          curb ramps excluding the flared sides, elevators, and platform lifts.
          All components of an accessible route shall comply with the applicable
          requirements of Chapter 4.
          ADAAG 403 Walking Surfaces
          ADAAG 403.4 Changes in Level.
          Changes in level shall comply with 303
          ADAAG 303.4 Ramps.
          Changes in level greater than ½ inch high shall be ramped, and shall comply with
          405 or 406.

   10. Required handrails not provided at both sides of additional steps at interior side of
       entrance door.

          ADAAG 505 Handrails
          ADAAG 505.2 Where Required.
          Handrails shall be provided on both sides of stairs and ramps.

   11. Inaccessible dining tables.

   12. Required minimum knee and toe clearance not provided at dining tables.

   13. A minimum percentage of existing dining tables required to be accessible not
       provided.

          ADAAG 226 Dining Surfaces and Work Surfaces
          ADAAG 226.1 General.
          Where dining surfaces are provided for the consumption of food or drink, at least
          5 percent of the seating spaces and standing spaces at the dining surfaces shall
          comply with 902.
          ADAAG 902 Dining Surfaces and Work Surfaces
          ADAAG 902.1 General.
          Dining surfaces and work surfaces shall comply with 902.2 and 902.3.
          ADAAG 902.2 Clear Floor or Ground Space.
          A clear floor space complying with 305 positioned for a forward approach shall
          be provided.
          Knee and toe clearance complying with 306 shall be provided.
          ADAAG 306.2 Toe Clearance.
          ADAAG 306.2.3 Minimum Required Depth.
          Where toe clearance is required at an element as part of a clear floor space, the toe
          clearance shall extend 17 inches (430 mm) minimum under the element.
          ADAAG 306.2.5 Width.
          Toe clearance shall be 30 inches (760 mm) wide minimum.
                                            9
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 10 of 21 PageID #: 10




           ADAAG 306.3 Knee Clearance.
           ADAAG 306.3.3 Minimum Required Depth.
           Where knee clearance is required under an element as part of a clear floor space,
           the knee clearance shall be 11 inches deep minimum at 9 inches above the ground,
           and 8 inches deep minimum at 27 inches (685 mm) above the finish floor or
           ground.
           ADAAG 306.3.5 Width.
           Knee clearance shall be 30 inches (760 mm) wide minimum.

    14. Inaccessible service counter.

    15. Non-compliant height of service counter exceeds maximum height allowance.

           ADAAG227 Sales and Service
           ADAAG 227.1 General.
           Where provided, check-out aisles, sales counters, service counters, food service
           lines, queues, and waiting lines shall comply with 227 and 904.
           ADAAG 904.4 Sales and Service Counters.
           Sales counters and service counters shall comply with 904.4.1 or 904.4.2.
           The accessible portion of the counter top shall extend the same depth as the sales
           or service counter top.
           ADAAG 904.4.1 Parallel Approach.
           A portion of the counter surface that is 36 inches (915 mm) long minimum and 36
           inches (915 mm) high maximum above the finish floor shall be provided.
           A clear floor or ground space complying with 305 shall be positioned for a
           parallel approach adjacent to the 36 inch (915 mm) minimum length of counter.

    16. Inaccessible restroom.

    17. Accessible route to restroom not provided.

    18. Required minimum clear width not provided at travel path to restroom.

           ADAAG 402 Accessible Routes
           ADAAG 402.1 General.
           Accessible routes shall comply with 402.
           ADAAG 402.2 Components.
           Accessible routes shall consist of one or more of the following components:
           walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
           curb ramps excluding the flared sides, elevators, and platform lifts.
           All components of an accessible route shall comply with the applicable
           requirements of Chapter 4.
           ADAAG 403 Walking Surfaces
           ADAAG 403.1 General.
                                           10
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 11 of 21 PageID #: 11




           Walking surfaces that are a part of an accessible route shall comply with 403.
           ADAAG 403.5.1 Clear Width.
           Except as provided in 403.5.2 and 403.5.3, the clear width of walking surfaces
           shall be 36 inches (915 mm) minimum.

    19. Compliant signage identifying the restroom not provided as required.

           ADAAG 216 Signs
           ADAAG 216.1 General.
           Signs shall be provided in accordance with 216 and shall comply with 703.
           ADAAG 216.2 Designations.
           Interior and exterior signs identifying permanent rooms and spaces shall comply
           with 703.1, 703.2, and 703.5.
           Where pictograms are provided as designations of permanent interior rooms and
           spaces, the pictograms shall comply with 703.6 and shall have text descriptors
           complying with 703.2 and 703.5.
           Advisory 216.2 Designations.
           Section 216.2 applies to signs that provide designations, labels, or names for
           interior rooms or spaces where the sign is not likely to change over time.
           Examples include interior signs labeling restrooms, room and floor numbers or
           letters, and room names.
           Tactile text descriptors are required for pictograms that are provided to label or
           identify a permanent room or space.
           Pictograms that provide information about a room or space, such as “no
           smoking,” occupant logos, and the International Symbol of Accessibility, are not
           required to have text descriptors.
           ADAAG 703.1 General.
           Signs shall comply with 703.
           Where both visual and tactile characters are required, either one sign with both
           visual and tactile characters, or two separate signs, one with visual, and one with
           tactile characters, shall be provided.
           ADAAG 703.4.1 Height Above Finish Floor or Ground.
           Tactile characters on signs shall be located 48 inches (1220 mm) minimum above
           the finish floor or ground surface, measured from the baseline of the lowest tactile
           character and 60 inches (1525 mm) maximum above the finish floor or ground
           surface, measured from the baseline of the highest tactile character.
           ADAAG 703.4.2 Location.
           Where a tactile sign is provided at a door, the sign shall be located alongside the
           door at the latch side.
           Where a tactile sign is provided at double doors with one active leaf, the sign shall
           be located on the inactive leaf.
           Where a tactile sign is provided at double doors with two active leafs, the sign
           shall be located to the right of the right hand door.

                                            11
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 12 of 21 PageID #: 12




           Where there is no wall space at the latch side of a single door or at the right side
           of double doors, signs shall be located on the nearest adjacent wall.
           Signs containing tactile characters shall be located so that a clear floor space of 18
           inches (455 mm) minimum by 18 inches (455 mm) minimum, centered on the
           tactile characters, is provided beyond the arc of any door swing between the
           closed position and 45 degree open position.

    20. Non-compliant door lock at restroom door requires twisting of the wrist.

           ADAAG 404 Doors, Doorways, and Gates
           ADAAG 404.1 General.
           Doors, doorways, and gates that are part of an accessible route shall comply with
           404.
           ADAAG 404.2.7 Door and Gate Hardware.
           Handles, pulls, latches, locks, and other operable parts on doors and gates shall
           comply with 309.4
           ADAAG 309.4 Operation.
           Operable parts shall be operable with one hand and shall not require tight
           grasping, pinching,
           or twisting of the wrist.
           The force required to activate operable parts shall be 5 pounds maximum.

    21. Inaccessible water closet in restroom.

    22. Required minimum clearance not provided at water closet in restroom.

           ADAAG 604 Water Closets and Toilet Compartments
           ADAAG 604.3 Clearance.
           Clearances around water closets and in toilet compartments shall comply with
           604.3.
           ADAAG 604.3.1 Size.
           Clearance around a water closet shall be 60 inches (1525 mm) minimum
           measured perpendicular from the side wall and 56 inches (1420 mm) minimum
           measured perpendicular from the rear wall.

    23. Non-compliant position of plumbing valves located directly behind toilet seat of
        water closet in restroom.

           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG Advisory 604.6 Flush Controls.
           If plumbing valves are located directly behind the toilet seat, flush valves and
           related plumbing can cause injury or imbalance when a person leans back against
           them.

                                            12
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 13 of 21 PageID #: 13




           To prevent causing injury or imbalance, the plumbing can be located behind walls
           or to the side of the toilet; or if approved by the local authority having
           jurisdiction, provide a toilet seat lid.

    24. Non-compliant position of flush control located at closed side of water closet in
        restroom.

           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG 604.6 Flush Controls.
           Flush controls shall be hand operated or automatic.
           Hand operated flush controls shall comply with 309.
           Flush controls shall be located on the open side of the water closet except in
           ambulatory accessible compartments complying with 604.8.2.

    25. Non-compliant existing grab bar at rear wall of water closet in restroom does not
        meet minimum size requirement.

           ADAAG 604 Water Closets and Toilet Compartments
           ADAAG 604.5.2 Rear Wall.
           The rear wall grab bar shall be 36 inches (915 mm) long minimum and extend
           from the centerline of the water closet 12 inches (305 mm) minimum on one side
           and 24 inches (610 mm) minimum on the other side.

    26. Non-compliant existing grab bar at side wall of water closet in restroom does not
        meet minimum size requirement.

           ADAAG 604 Water Closets and Toilet Compartments
           ADAAG 604.5.1 Side Wall.
           The side wall grab bar shall be 42 inches (1065 mm) long minimum, located 12
           inches (305 mm) maximum from the rear wall and extending 54 inches (1370
           mm) minimum from the rear wall.

    27. Inaccessible toilet paper dispenser in restroom.

    28. Non-compliant position of toilet paper dispenser from water closet.

           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG 604.7 Dispensers.
           Toilet paper dispensers shall comply with 309.4 and shall be 7 inches (180 mm)
           minimum and 9 inches (230 mm) maximum in front of the water closet measured
           to the centerline of the dispenser.

    29. Inaccessible lavatory in restroom.

                                             13
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 14 of 21 PageID #: 14




    30. Non-compliant height of lavatory in restroom exceeds maximum height allowance.

           ADAAG 606 Lavatories and Sinks.
           ADAAG 606.1 General.
           Lavatories and sinks shall comply with 606.
           ADAAG 606.3 Height.
           Lavatories and sinks shall be installed with the front of the higher of the rim or
           counter surface 34 inches (865 mm) maximum above the finish floor or ground.

    31. Required minimum knee and toe clearance not provided at lavatory in restroom.

           ADAAG 606 Lavatories and Sinks.
           ADAAG 606.2 Clear Floor Space.
           A clear floor space complying with 305, positioned for a forward approach, and
           knee and toe clearance complying with 306 shall be provided.
           ADAAG 306.2 Toe Clearance.
           ADAAG 306.2.3 Minimum Required Depth.
           Where toe clearance is required at an element as part of a clear floor space, the toe
           clearance shall extend 17 inches (430 mm) minimum under the element.
           ADAAG 306.2.5 Width.
           Toe clearance shall be 30 inches (760 mm) wide minimum.
           ADAAG 306.3 Knee Clearance.
           ADAAG 306.3.3 Minimum Required Depth.
           Where knee clearance is required under an element as part of a clear floor space,
           the knee clearance shall be 11 inches deep minimum at 9 inches above the ground,
           and 8 inches deep minimum at 27 inches (685 mm) above the finish floor or
           ground.
           ADAAG 306.3.5 Width.
           Knee clearance shall be 30 inches (760 mm) wide minimum.

    32. Inaccessible hand dryer in restroom.

    33. Non-compliant mounted height of hand dryer in restroom exceeds maximum height
        allowance.

           ADAAG Advisory 606.1 General.
           If soap and towel dispensers are provided, they must be located within the reach
           ranges specified in 308.
           ADAAG 308.2 Forward Reach.
           ADAAG 308.2.1 Unobstructed.
           Where a forward reach is unobstructed, the high forward reach shall be 48 inches
           maximum and the low forward reach shall be 15 inches minimum above the finish
           floor or ground.
           ADAAG 308.2.2 Obstructed High Reach.
                                               14
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 15 of 21 PageID #: 15




           Where a high forward reach is over an obstruction, the clear floor space shall
           extend beneath the element for a distance not less than the required reach depth
           over the obstruction.
           The high forward reach shall be 48 inches maximum where the reach depth is 20
           inches maximum.
           Where the reach depth exceeds 20 inches, the high forward reach shall be 44
           inches maximum and the reach depth shall be 25 inches maximum.
           ADAAG 308.3 Side Reach.
           ADAAG 308.3.1 Unobstructed.
           Where a clear floor or ground space allows a parallel approach to an element and
           the side reach is unobstructed, the high side reach shall be 48 inches maximum
           and the low side reach shall be 15 inches minimum above the finish floor or
           ground.
           ADAAG 308.3.2 Obstructed High Reach.
           Where a clear floor or ground space allows a parallel approach to an element and
           the high side reach is over an obstruction, the height of the obstruction shall be 34
           inches maximum and the depth of the obstruction shall be 24 inches maximum.
           The high side reach shall be 48 inches maximum for a reach depth of 10 inches
           maximum.
           Where the reach depth exceeds 10 inches, the high side reach shall be 46 inches
           maximum for a reach depth of 24 inches maximum.

    34. The first of five coat hooks in restroom is inaccessible.

    35. Non-compliant height of the first of five coat hooks in restroom exceeds maximum
        height allowance.

           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG 604.8.3 Coat Hooks and Shelves.
           Coat hooks shall be located within one of the reach ranges specified in 308.
           ADAAG 308.2 Forward Reach.
           ADAAG 308.2.1 Unobstructed.
           Where a forward reach is unobstructed, the high forward reach shall be 48 inches
           maximum and the low forward reach shall be 15 inches minimum above the finish
           floor or ground.
           ADAAG 308.2.2 Obstructed High Reach.
           Where a high forward reach is over an obstruction, the clear floor space shall
           extend beneath the element for a distance not less than the required reach depth
           over the obstruction.
           The high forward reach shall be 48 inches maximum where the reach depth is 20
           inches maximum.
           Where the reach depth exceeds 20 inches, the high forward reach shall be 44
           inches maximum and the reach depth shall be 25 inches maximum.

                                             15
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 16 of 21 PageID #: 16




           ADAAG 308.3 Side Reach.
           ADAAG 308.3.1 Unobstructed.
           Where a clear floor or ground space allows a parallel approach to an element and
           the side reach is unobstructed, the high side reach shall be 48 inches maximum
           and the low side reach shall be 15 inches minimum above the finish floor or
           ground.
           ADAAG 308.3.2 Obstructed High Reach.
           Where a clear floor or ground space allows a parallel approach to an element and
           the high side reach is over an obstruction, the height of the obstruction shall be 34
           inches maximum and the depth of the obstruction shall be 24 inches maximum.
           The high side reach shall be 48 inches maximum for a reach depth of 10 inches
           maximum.
           Where the reach depth exceeds 10 inches, the high side reach shall be 46 inches
           maximum for a reach depth of 24 inches maximum.

    36. The second of five coat hooks in restroom is inaccessible.

    37. Non-compliant height of the second of five coat hooks in restroom exceeds maximum
        height allowance.

           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG 604.8.3 Coat Hooks and Shelves.
           Coat hooks shall be located within one of the reach ranges specified in 308.
           ADAAG 308.2 Forward Reach.
           ADAAG 308.2.1 Unobstructed.
           Where a forward reach is unobstructed, the high forward reach shall be 48 inches
           maximum and the low forward reach shall be 15 inches minimum above the finish
           floor or ground.
           ADAAG 308.2.2 Obstructed High Reach.
           Where a high forward reach is over an obstruction, the clear floor space shall
           extend beneath the element for a distance not less than the required reach depth
           over the obstruction.
           The high forward reach shall be 48 inches maximum where the reach depth is 20
           inches maximum.
           Where the reach depth exceeds 20 inches, the high forward reach shall be 44
           inches maximum and the reach depth shall be 25 inches maximum.
           ADAAG 308.3 Side Reach.
           ADAAG 308.3.1 Unobstructed.
           Where a clear floor or ground space allows a parallel approach to an element and
           the side reach is unobstructed, the high side reach shall be 48 inches maximum
           and the low side reach shall be 15 inches minimum above the finish floor or
           ground.
           ADAAG 308.3.2 Obstructed High Reach.

                                            16
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 17 of 21 PageID #: 17




           Where a clear floor or ground space allows a parallel approach to an element and
           the high side reach is over an obstruction, the height of the obstruction shall be 34
           inches maximum and the depth of the obstruction shall be 24 inches maximum.
           The high side reach shall be 48 inches maximum for a reach depth of 10 inches
           maximum.
           Where the reach depth exceeds 10 inches, the high side reach shall be 46 inches
           maximum for a reach depth of 24 inches maximum.

    38. The third of five coat hooks in restroom is inaccessible.

    39. Non-compliant height of the third of five coat hooks in restroom exceeds maximum
        height allowance.

           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG 604.8.3 Coat Hooks and Shelves.
           Coat hooks shall be located within one of the reach ranges specified in 308.
           ADAAG 308.2 Forward Reach.
           ADAAG 308.2.1 Unobstructed.
           Where a forward reach is unobstructed, the high forward reach shall be 48 inches
           maximum and the low forward reach shall be 15 inches minimum above the finish
           floor or ground.
           ADAAG 308.2.2 Obstructed High Reach.
           Where a high forward reach is over an obstruction, the clear floor space shall
           extend beneath the element for a distance not less than the required reach depth
           over the obstruction.
           The high forward reach shall be 48 inches maximum where the reach depth is 20
           inches maximum.
           Where the reach depth exceeds 20 inches, the high forward reach shall be 44
           inches maximum and the reach depth shall be 25 inches maximum.
           ADAAG 308.3 Side Reach.
           ADAAG 308.3.1 Unobstructed.
           Where a clear floor or ground space allows a parallel approach to an element and
           the side reach is unobstructed, the high side reach shall be 48 inches maximum
           and the low side reach shall be 15 inches minimum above the finish floor or
           ground.
           ADAAG 308.3.2 Obstructed High Reach.
           Where a clear floor or ground space allows a parallel approach to an element and
           the high side reach is over an obstruction, the height of the obstruction shall be 34
           inches maximum and the depth of the obstruction shall be 24 inches maximum.
           The high side reach shall be 48 inches maximum for a reach depth of 10 inches
           maximum.
           Where the reach depth exceeds 10 inches, the high side reach shall be 46 inches
           maximum for a reach depth of 24 inches maximum.

                                             17
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 18 of 21 PageID #: 18




    40. The fourth of five coat hooks in restroom is inaccessible.

    41. Non-compliant height of the fourth of five coat hooks in restroom exceeds maximum
        height allowance.

           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG 604.8.3 Coat Hooks and Shelves.
           Coat hooks shall be located within one of the reach ranges specified in 308.
           ADAAG 308.2 Forward Reach.
           ADAAG 308.2.1 Unobstructed.
           Where a forward reach is unobstructed, the high forward reach shall be 48 inches
           maximum and the low forward reach shall be 15 inches minimum above the finish
           floor or ground.
           ADAAG 308.2.2 Obstructed High Reach.
           Where a high forward reach is over an obstruction, the clear floor space shall
           extend beneath the element for a distance not less than the required reach depth
           over the obstruction.
           The high forward reach shall be 48 inches maximum where the reach depth is 20
           inches maximum.
           Where the reach depth exceeds 20 inches, the high forward reach shall be 44
           inches maximum and the reach depth shall be 25 inches maximum.
           ADAAG 308.3 Side Reach.
           ADAAG 308.3.1 Unobstructed.
           Where a clear floor or ground space allows a parallel approach to an element and
           the side reach is unobstructed, the high side reach shall be 48 inches maximum
           and the low side reach shall be 15 inches minimum above the finish floor or
           ground.
           ADAAG 308.3.2 Obstructed High Reach.
           Where a clear floor or ground space allows a parallel approach to an element and
           the high side reach is over an obstruction, the height of the obstruction shall be 34
           inches maximum and the depth of the obstruction shall be 24 inches maximum.
           The high side reach shall be 48 inches maximum for a reach depth of 10 inches
           maximum.
           Where the reach depth exceeds 10 inches, the high side reach shall be 46 inches
           maximum for a reach depth of 24 inches maximum.

    42. The fifth of five coat hooks in restroom is inaccessible.

    43. Non-compliant height of the fifth of five coat hooks in restroom exceeds maximum
        height allowance.

           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG 604.8.3 Coat Hooks and Shelves.
                                             18
 Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 19 of 21 PageID #: 19




               Coat hooks shall be located within one of the reach ranges specified in 308.
               ADAAG 308.2 Forward Reach.
               ADAAG 308.2.1 Unobstructed.
               Where a forward reach is unobstructed, the high forward reach shall be 48 inches
               maximum and the low forward reach shall be 15 inches minimum above the finish
               floor or ground.
               ADAAG 308.2.2 Obstructed High Reach.
               Where a high forward reach is over an obstruction, the clear floor space shall
               extend beneath the element for a distance not less than the required reach depth
               over the obstruction.
               The high forward reach shall be 48 inches maximum where the reach depth is 20
               inches maximum.
               Where the reach depth exceeds 20 inches, the high forward reach shall be 44
               inches maximum and the reach depth shall be 25 inches maximum.
               ADAAG 308.3 Side Reach.
               ADAAG 308.3.1 Unobstructed.
               Where a clear floor or ground space allows a parallel approach to an element and
               the side reach is unobstructed, the high side reach shall be 48 inches maximum
               and the low side reach shall be 15 inches minimum above the finish floor or
               ground.
               ADAAG 308.3.2 Obstructed High Reach.
               Where a clear floor or ground space allows a parallel approach to an element and
               the high side reach is over an obstruction, the height of the obstruction shall be 34
               inches maximum and the depth of the obstruction shall be 24 inches maximum.
               The high side reach shall be 48 inches maximum for a reach depth of 10 inches
               maximum.
               Where the reach depth exceeds 10 inches, the high side reach shall be 46 inches
               maximum for a reach depth of 24 inches maximum.


       17.     The above listing is not to be considered all-inclusive of the barriers which exist

at the Facility. Plaintiff requires an inspection of the Facility in order to determine all of the

ADA violations.

       18.     The removal of the physical barriers, dangerous conditions, and ADA violations

set forth herein is readily achievable and can be accomplished and carried out without much

difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

36.304.


                                                19
 Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 20 of 21 PageID #: 20




        19.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until

Defendants are required to remove the physical barriers, dangerous conditions, and ADA

violations that exist at the Facility, including those set forth herein.

        20.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

        21.     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

injunctive relief to Plaintiff, including an order to alter the Facility to make it readily accessible

to and useable by individuals with disabilities to the extent required by the ADA, and closing

the Facility until the requisite modifications are completed.

        WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

injunction enjoining Defendants from continuing is discriminatory practices, ordering

Defendants to remove the physical barriers to access and alter the Facility to make it readily

accessible to and useable by individuals with disabilities to the extent required by the ADA,

closing the Facility until the barriers are removed and requisite alterations are completed, and

awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation expenses

incurred in this action.

                                                    Respectfully submitted

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                                              By: s/ Maria-Costanza Barducci
                                                  Maria-Costanza Barducci, Esq.
                                                      Attorney for Plaintiff

                                                   20
Case 1:24-cv-07013-RML Document 1 Filed 10/04/24 Page 21 of 21 PageID #: 21




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                                    21
